                Case 23-35083 Document 18 Filed in TXSB on 03/26/24 Page 1 of 1
                                                                              United States Bankruptcy Court
                                      UNITED STATES BANKRUPTCY COURT              Southern District of Texas
                                        SOUTHERN DISTRICT OF TEXAS                   ENTERED
                                                                                    March 26, 2024
In     Joanna Burke                                                               Nathan Ochsner, Clerk
Re:
       Debtor(s)                                         Case No.: 23−35083
                                                         Chapter: 13


                                               ORDER CLOSING CASE


The estate has been fully administered. Therefore, the Court orders:

1. Tiffany D Castro is discharged as trustee of the estate.

2. The Trustee's bond is cancelled.

3. The case is closed.




Signed and Entered on Docket: 3/26/24
